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BETWEEN

IN THE HIGH COURT OF THE

HCA 477/2015

HONG KONG SPECIAL ADMINISTRATIVE REGION

COURT OF FIRST INSTANCE
ACTION NO. 477 OF 2015

Pm) OT

\ 3 AN BANCO DEL AUSTRO, S.A.

and

REGAL PROSPER TRADING LIMITED
MESTER TRADING CORPORATION CO., LIMITED

JGM ASIA TELECOM LIMITED

JIUSHUN GROUP CO., LIMITED

BLOOD SCIENCE & TECHNOLOGY (HK) LIMITED
HOMECARE TECHNOLOGY LIMITED

VICREATE INDUSTRIAL (HK) CO., LIMITED

HK KEYU ELECTRONICS DEVELOPMENT
LIMITED
BIAOYU ELECTRONICS (HK) CO., LIMITED

HONGKONG QXSF TECHNOLOGY LIMITED
AIWEILI IMPORT & EXPORT LIMITED

DEPOT TRADING LIMITED

AOLAIT LIGHTING CO., LIMITED

DING SHENG IMPORT & EXPORT LIMITED
DESHUNKANG IMPORT AND EXPORT LIMITED

HEALTHY FOOD LIMITED

Plaintiff

1“' Defendant
2" Defendant

3" Defendant
(Discontinued)
A" Defendant

5" Defendant
6" Defendant
7" Defendant

8" Defendant

9"" Defendant
10" Defendant
11'" Defendant
12" Defendant
13" Defendant
14" Defendant
15"" Defendant

16" Defendant
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FOPOCONN ELECTRONIC (HK) CO., LIMITED 17" Defendant
SIKIEYE INTERNATIONAL TRADING CO., 18" Defendant
LIMITED

ON TAK LUNG TRADING LIMITED 19" Defendant
SAMDIMON — HK LIMITED 20" Defendant
HONGMING GROUP LIMITED 21°' Defendant
OULONG INTERNATIONAL TRADING CO., 224 Defendant
LIMITED

HONGKONG SHENGHUA TRADING CO., LIMITED 23" Defendant

BEFORE DEPUTY HIGH COURT JUDGE SEAGROATT IN CHAMBERS
(NOT OPEN TO PUBLIC)

ORDER
UPON the ex parte application of the Plaintiff.
AND UPON hearing Counsel for the Plaintiff.

AND UPON reading the 2™ Affirmation of Leung Ka Ying herein on 26 May 2015
together with exhibits thereto.

AND UPON the Plaintiff's undertakings that: -

(1) The information obtained will be used only for the purpose of proceedings
(actual or contemplated) against the 5" to 23" Defendants in Hong Kong or

elsewhere;

(2) It will pay the reasonable costs of the Banks which have been incurred as a

result of this Order;
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(3) If the Court later finds that this Order has caused loss to the Banks (as defined
below) and decides that Banks (as defined below) should be compensated for
that loss, the Plaintiff will comply with any Order the Court may make; and

(4) It will issue as soon as practicable and serve the Banks (as defined below) a
summons to be heard on 19 June 2015 together with a copy of the 2™
Affirmation of Leung Ka Ying and copiable exhibits containing the evidence
relied on by the Plaintiff and a copy of the skeleton argument used at the
application for this Order.

IT IS ORDERED THAT: -

(1) Pursuant to section 21 of the Evidence Ordinance (Cap 8), the Hong Kong and
Shanghai Bank Corporation in Hong Kong (“HSBC”) shall disclose to the
Plaintiff and the Plaintiff be at liberty by themselves and/or their legal advisers
and/or their forensic accountants upon 21 days’ notice to inspect and take copies
of all entries in all of the records used and kept in the ordinary course of

business by HSBC and relating to:

(a) The bank accounts with the account numbers listed in Schedule 1 of this
Order held with HSBC in the name of the respective Defendants specified

therein;

(b) Any other bank account(s) held with HSBC whether solely or jointly and
held in the name of the 5"" to 23" Defendants;

(c) Any other bank account(s) in respect of which any of the 5" to 23"
Defendants is/are a sole or joint signatory for the period between 1

January 2015 and the date of the Order made herein;

whether such records be written or maintained as microfilm, magnetic tape or
by means of any other form of mechanical or electronic data retrieval system
for the period from between 1 January 2015 and the date of the Order made

herein, including but not limited to:
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(i) all account opening forms, application forms, indemnities, counter-

indemnities and mandates in whatever form;

(ii) all bank statements;

(iii) all documents and information relating to the person or persons authorised
howsoever to operate such accounts including records showing the

identities of such person or persons;

(iv) all correspondence passing between the HSBC and the 5" to 23"

Defendants and any other person or persons relating to such accounts;

(v) all cheques drawn on such accounts;

(vi) all credit vouchers and/or other documentation relating to funds paid into

such accounts and the source of those funds;

(vii) all debit vouchers, transfer applications and orders and_ internal

memoranda;

(viii) all documents, including SWIFT messages and/or telexes, evidencing or
memorialising instructions to withdraw or transfer funds or recording or

authorising payments from one account to any other accounts; and

(ix) all documents which relate to letters of credit, standby letters of credit or
other documentary credits and any application[s] for and/or enquir[y/ies]

regarding the same which touch upon or concern such accounts.

(2) Pursuant to section 21 of the Evidence Ordinance (Cap 8), Hang Seng Bank
Limited (“HSB”) shall disclose to the Plaintiff and the Plaintiff be at liberty by
themselves and/or their legal advisers and/or their forensic accountants upon 21
days’ notice to inspect and take copies of all entries in all of the records used

and kept in the ordinary course of business by HSB and relating to:
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(a) The bank accounts with the account numbers listed in Schedule 2 of this
Order held with HSBC in the name of the respective Defendants specified

therein;

(b) Any other bank account(s) held with HSB whether solely or jointly and
held in the name of the 5" to 23"! Defendants;

(c) Any other bank account(s) in respect of which any of the 5” tg. 23"
Defendants is/are a sole or joint signatory for the period between 1

January 2015 and the date of the Order made herein;

whether such records be written or maintained as microfilm, magnetic tape or
by means of any other form of mechanical or electronic data retrieval system
for the period from between 1 January 2015 and the date of the Order made

herein, including but not limited to:

(i) all account opening forms, application forms, indemnities, counter-

indemnities and mandates in whatever form;

(ii) all bank statements;

(iii) all documents and information relating to the person or persons authorised
howsoever to operate such accounts including records showing the

identities of such person or persons;

(iv) all correspondence passing between the HSBC and the 5" to 23”

Defendants and any other person or persons relating to such accounts;
(v) all cheques drawn on such accounts;

(vi) all credit vouchers and/or other documentation relating to funds paid into

such accounts and the source of those funds;
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(vii) all debit vouchers, transfer applications and orders and _ internal

memoranda;

(viii) all documents, including SWIFT messages and/or telexes, evidencing or
memorialising instructions to withdraw or transfer funds or recording or

authorising payments from one account to any other accounts; and

(ix) all documents which relate to letters of credit, standby letters of credit or
other documentary credits and any application[s] for and/or enquir[y/ies]

regarding the same which touch upon or concern such accounts.
(HSBC and HSB collectively defined as the “Banks”)

(3) The Banks be restrained by injunction up to and including [date] or further
order from revealing directly or indirectly, or suffering or permitting to be
revealed, to the 5" to 23" Defendants, his servants or agents the fact of the
making of and compliance with the Order, or any Orders ancillary hereto, or the

particulars of the documents or other information disclosed pursuant hereto;

(4) The Plaintiff do have leave to use information and documents obtained as a
result of this Order for the purpose of proceedings (actual or contemplated)
against the 5" to 23" Defendants in Hong Kong or elsewhere;

(5) The costs of and occasioned by this application be to the Banks; and

(6) The parties to this action, and any person affected by this Order have liberty to

apply on notice to the Plaintiff or its solicitors to vary or discharge this Order.

Dated this 27" day of May 2015

Registrar
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SCHEDULE 1

Defendant | Defendant Bank Name and

Number Account Number

D6 Homecare Technology Limited HSBC SRG -838

D7 Vicreate Industrial (HK) Co., HSBC EB s-338
Limited

D8 HK Keyu Electronics Development | HSBC HE-838
Limited

D9 Biaoyu Electronics (HK) Co., HSBC QE -338
Limited

D10 HongKong QXSF Technology HSBC K-83
Limited

D11 Aiweili Import & Export Limited HSBC SH -838

D12 Depot Trading Limited HSBC i -838

D13 Aolait Lighting Co., Limited HSBC (i -838

D14 Ding Sheng Import & Export HSBC iio -838
Limited

D15 Deshunkang Import and Export HSBC: -833
Limited

D16 Healthy Food Limited HSBC iio -201

D17 Fopoconn Electronics (HK) Co., HSBC ED -838
Limited

D18 Sikieye International Trading Co., HSBC i -838
Limited

D19 On Tak Lung Trading Limited HSBC -274

D20 Samdimon — HK Limited HSBC ER -201

D21 Hongming Group Limited HSBC -838

D22 Oulong International Trading Co., HSBC a -33s
Limited

D23 Hongkong Shenghua Trading Co., HSBC I -838
Limited

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SCHEDULE 2

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Defendant | Defendant Bank Name and

Number Account Number

D5 Blood Science & Technology (HK) Hang Seng Bank Ltd
Limited 333

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HCA 477/2015

IN THE HIGH COURT OF THE
HONG KONG SPECIAL ADMINISTRATIVE
REGION
COURT OF FIRST INSTANCE
ACTION NO. 477 OF 2015

BETWEEN

BANCO DEL AUSTRO, S.A. Plaintiff
and
REGAL PROPSER TRADING 1° Defendant
LIMITED
MESTER TRADING 2"! Defendant
CORPORATION CO., LIMITED
JGM ASIA TELECOM LIMITED 3" Defendant
(Discontinued)

JIUSHUN GROUP CO., LIMITED 4" Defendant
BLOOD SCIENCE & 5"" Defendant
TECHNOLOGY (HK) LIMITED
HOMECARE TECHNOLOGY 6" Defendant
LIMITED
VICREATE INDUSTRIAL (HK) 7" Defendant
CO., LIMITED
HK KEYU ELECTRONICS 8"" Defendant
DEVELOPMENT LIMITED
BIAOYU ELECTRONICS (HK) 9" Defendant
CO., LIMITED
HONGKONG QXSF 10" Defendant
TECHNOLOGY LIMITED
AIWEILI IMPORT & EXPORT 11" Defendant
LIMITED
DEPOT TRADING LIMITED 12" Defendant
AOLAIT LIGHTING CO., 13" Defendant
LIMITED
DING SHENG IMPORT & 14" Defendant
EXPORT LIMITED
DESHUNKANG IMPORT AND 15" Defendant

EXPORT LIMITED
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HEALTHY FOOD LIMITED 16" Defendant :

FOPOCONN ELECTRONIC (HK) 17" Defendant
CO., LIMITED

SIKIEYE INTERNATIONAL 18" Defendant
TRADING CO., LTD

ON TAK LUNG TRADING LTD 19" Defendant
SAMDIMON -— HK LIMITED 20" Defendant
HONGMING GROUP LIMITED 21% Defendant
OULONG INTERNATIONAL 22" Defendant

TRADING CO., LTD

HONGKONG SHENGHUA 23" Defendant
TRDING CO., LTD

ORDER

Dated the 27" day of May 2015
Filed the 28" day of May 2015

SQUIRE PATTON BOGGS
Solicitors for the Plaintiff
29" Floor, Edinburgh Tower
The Landmark
15 Queen’s Road Central, Hong Kong
Tel: 2509 9977
Fax: 2509 9772
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